                                                            Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 1 of 22 Page ID #:648


                                                              1    Esperanza Cervantes Anderson | SBN 197953
                                                                   LAW OFFICE OF ESPERANZA CERVANTES ANDERSON
                                                              2    1037 North Allen Avenue
                                                                   Pasadena, California 91104
                                                              3    Tel.: (626) 219-6773
                                                                   Fax: (626) 389-8911
                                                              4
                                                                   Attorney for Plaintiff Relator
                                                              5    FRANK ADOMITIS
                                                              6
                                                              7
                                                              8                       UNITED STATES DISTRICT COURT
                                                              9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                             10
E SPERANZA C ERVANTES A NDERSON




                                                             11    UNITED STATES OF AMERICA                   Case No. Case No.: 5:17-cv-00002-
                                                                   ex rel. FRANK ADOMITIS, an                 JGB-KK
                                                             12    individual,                                (Hon. Jesus G. Bernal)
                                                             13                 Relator,                      SECOND AMENDED
                                  P ASADENA , C ALIFORNIA




                                                                                                              COMPLAINT FOR VIOLATION
                                                             14          v.                                   OF THE FEDERAL FALSE
                                                                                                              CLAIMS ACT
                                                             15    SAN BERNARDINO                             (31 U.S.C. §§ 3729 et seq.)
                                                                   MOUNTAINS COMMUNITY
                                                             16    HOSPITAL DISTRICT; DOES 1
                                                                   through 20, inclusive,
     OF




                                                             17                                               JURY TRIAL DEMANDED
L AW O FFICE




                                                                                Defendants.
                                                             18
                                                             19
                                                             20
                                                             21                               NATURE OF THE ACTION
                                                             22         1.     This is a civil action brought by the United States, as Plaintiff, against
                                                             23   Defendants San Bernardino Mountains Community Hospital District (the
                                                             24   “Hospital”) and DOES 1-10 for Medicare fraud involving millions of dollars and
                                                             25   both factually and legally false claims, lasting over the course of more than a decade,
                                                             26   and continuing at present. This suit seeks damages, civil money penalties, and other
                                                             27   relief under the False Claims Act, 31 U.S.C. §§ 3729 et seq., as amended by the
                                                             28   False Claims Act Amendments of 1986, the Fraud Enforcement and Recovery Act
                                                                                                            -1-
                                                                                  Second Amended Complaint for Damages / Demand For Jury
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 2 of 22 Page ID #:649
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 3 of 22 Page ID #:650
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 4 of 22 Page ID #:651
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 5 of 22 Page ID #:652
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 6 of 22 Page ID #:653
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 7 of 22 Page ID #:654
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 8 of 22 Page ID #:655
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 9 of 22 Page ID #:656
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 10 of 22 Page ID #:657
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 11 of 22 Page ID #:658
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 12 of 22 Page ID #:659
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 13 of 22 Page ID #:660
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 14 of 22 Page ID #:661
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 15 of 22 Page ID #:662
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 16 of 22 Page ID #:663
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 17 of 22 Page ID #:664
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 18 of 22 Page ID #:665
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 19 of 22 Page ID #:666
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 20 of 22 Page ID #:667
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 21 of 22 Page ID #:668
Case 5:17-cv-00002-JGB-KK Document 26 Filed 02/20/18 Page 22 of 22 Page ID #:669
